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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

PETR DMITRIEV, YUSUP OSMANOV,
YURI RYAZANOV, and OLEG
SEMINETS CIVIL ACTION No. 21cv40068-NMG

Plaintiffs,
Vv.
ANDREI MANN

Defendant.

DEFENDANT'S Renewed Motion for Adjournment of the Hearing Due to IIness

March 13, 2025 Defendant Andrei Mann filed a “Motion for adjournment of the hearing due to illness.”
The Motion was accompanied by medical certificates, including a Certificate of Exemption from Work -
"Absence from Work".

On the same day, March 13, 2025, the Motion was denied:
"Magistrate Judge Donald L. Cabell: ELECTRONIC ORDER entered denying 183 MOTION for
adjournment of the hearing due to illness. In the absence of more information concerning the defendant's
diagnosis and prognosis, the motion is denied. (NR) (Entered: 03/13/2025)"

Defendant Andrei Mann hereby submits Renewed Motion for adjournment of the hearing due to illness.
Attached are the updated medical reports, taking into account the Court's recommendations (EXHIBIT 1).

Due to the court's order Trial is scheduled for March 17, 2025.
Mann requests that the Trial be postponed because he is unable to attend in person or online due to illness.

Mann was admitted to the hospital on March 11, 2025 for medical reasons. He is scheduled to undergo
surgery in the near future. Mann is also currently under the influence of medications, specifically pain
medications, he was prescribed a strict diet.

On the advice of doctors, Mann was also ordered to limit his movements even in everyday life.
Mann is currently undergoing pre-operative tests.

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Mann again expresses his sincere regret for what has happened and apologizes to the Honorable
Magistrate Judge Donald L. , and plaintiffs' attorney Mr. Pickering as well as to the plaintiffs
themselves for the inconvenience caused.

“oy

Date: March 15, 2025
Andrei Mayin

CERTIFICATE OF SERVICE

The undersigned certifies that on this day, March 15, 2025, the foregoing Motion was served
on the parties as follows:

Kenneth C. Pickering,
BBO #634121
Pickering Legal LLC
100 Grove Street
Worcester, MA 01605

Phone: (508) 498-3880

kpickering@ pickering-legal.com -

Date: March 15, 2025

Andrei fo
